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                                             :   UNITED STATES BANKRUPTCY COURT
  In re:                                     :   FOR THE DISTRICT OF NEW JERSEY
  SHAPES/ARCH HOLDINGS L.L.C., et            :   CHAPTER 11
  al.,                                       :
               Debtors.                      :   CASE NO. 08-14631 (GMB)
                                             :
                                             :

           ORDER GRANTING THE DEBTORS’ FIRST OMNIBUS
    OBJECTION TO DUPLICATE AND/OR REDUNDANT PROOFS OF CLAIM

  The relief set forth on the following pages, numbered (2) and (3) is hereby ORDERED.
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  ________________________________________________________________________


           Upon consideration of the Debtors’ First Omnibus Objection to Duplicate and/or

  Redundant Proofs of Claim (the “First Omnibus Objection”) for the entry of an order (the

  “Order”) expunging and disallowing certain Filed Claims identified in Exhibit 1 and

  Exhibit 2 to this Order; and pursuant to Rule 3007 of the Federal Rules of Bankruptcy

  Procedure, good and sufficient notice having been provided to each holder of a claim

  listed on the attached exhibits; and the relief requested in the First Omnibus Objection

  being in the best interests of the Debtors and their estates and creditors; and the Court

  having reviewed Objections to the First Omnibus Objection, if any; and upon all

  proceedings had before the Court; and after deliberation and sufficient cause appearing

  therefore,


  IT IS HEREBY ORDERED as follows:


           1.         The duplicate proofs of claim identified on Exhibit 1 as “List of

  Duplicate Claims for Same Debtor” are hereby expunged and disallowed in their entirety;

  and,


           2.       The redundant proofs of claim identified on Exhibit 2 as “List of

  Redundant Claims for Multiple Debtors” are hereby expunged and disallowed in their

  entirety; and,


           3.       This Order does not affect the claims identified in Exhibit 1 or Exhibit 2 as

  to the “Remaining Claim,” and,
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           4.       The Debtors’ right to file other objections to claims, including those

  claims referenced in the First Omnibus Objection, is hereby fully reserved.
